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                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                         FILED
                                  IN THE UNITED STATES DISTRICT COURT                12/21/2018
                                 FOR THE WESTERN DISTRICT OF VIRGINIA              JULIA C. DUDLEY, CLERK
                                        CHARLOTTESVILLE DIVISION                   BY: /s/ J. JONES
                                                                                      DEPUTY CLERK

      DAMIAN STINNIE, ET AL,                              CASE NO. 3:16-CV-00044
                                           Plaintiffs,

                            v.
                                                          PRELIMINARY INJUNCTION
      RICHARD D. HOLCOMB, IN HIS OFFICIAL
      CAPACITY AS THE COMMISSIONER OF THE
      VIRGINIA DEPARTMENT OF MOTOR VEHICLES,
                                                          JUDGE NORMAN K. MOON
                                          Defendant.

           In accordance with the accompanying memorandum opinion, Plaintiffs’ Motion for

  Preliminary Injunction, (dkt. 88), is GRANTED. 1 As used in this preliminary injunction, the

  term “Plaintiffs” means Damian Stinnie, Melissa Adams, Adrainne Johnson, Williest Bandy, and

  Brianna Morgan.         Defendant, Richard D. Holcomb, the Commissioner of the Virginia

  Department of Motor Vehicles (“Commissioner”) is hereby ORDERED as follows:

           (1) The Commissioner is preliminarily enjoined from enforcing Virginia Code § 46.2-

               395 against Plaintiffs unless or until the Commissioner or another entity provides a

               hearing regarding license suspension and provides adequate notice thereof;

           (2) The Commissioner shall remove any current suspensions of the Plaintiffs’ driver’s

               licenses imposed under Va. Code § 46.2-395; and

           (3) The Commissioner is enjoined from charging a fee to reinstate Plaintiffs’ driver’s

               licenses if there are no other restrictions on their licenses.


  1
         At this time the Court has made no determination as to Plaintiffs’ Motion to Certify
  Class. (Dkt. 85). Until the Court determines “that final injunctive relief or corresponding
  declaratory relief is appropriate respecting the class as a whole,” Fed. R. Civ. P. 23(b)(2), this
  Order applies only to named Plaintiffs: Damian Stinnie, Melissa Adams, Adrainne Johnson,
  Williest Bandy, and Brianna Morgan.
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         It is so ORDERED.

         The Clerk of Court is hereby directed to send a certified copy of this Order to all counsel

  of record.

                       21st day of December, 2018.
         Entered this ______
